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                                         Bankruptcy Case Number: 23-03376


                                                        15317-ILN-DE-037267380




             CERTIFICATE OF DEBTOR EDUCATION

I CERTIFY that on March 16, 2023, at 11:43 o'clock AM PDT, Tashuanda
Clayton completed a course on personal financial management given by internet
by Access Counseling, Inc., a provider approved pursuant to 11 U.S.C. 111 to
provide an instructional course concerning personal financial management in the
Northern District of Illinois.




Date:   March 16, 2023                   By:      /s/Philip Sta. Teresa


                                         Name: Philip Sta. Teresa


                                         Title:   Certified Counselor
